
The following order has been entered on the motion filed on the 20th of January 2016 by Defendant for Notice of Appeal:
"Motion Dismissed Ex Mero Motu by order of the Court in conference, this the 9th of June 2016."
The following order has been entered on the motion filed on the 20th of January 2016 by Defendant for Petition for Discretionary Review:
"Motion Dismissed by order of the Court in conference, this the 9th of June 2016."
*918Upon consideration of the petition filed by Defendant on the 20th of January 2016 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 9th of June 2016."
The following order has been entered on the motion filed on the 20th of January 2016 by Defendant for Subpoena Duces Tecum:
"Motion Dismissed by order of the Court in conference, this the 9th of June 2016."
The following order has been entered on the motion filed on the 22nd of March 2016 by Defendant to Amend:
"Motion Allowed by order of the Court in conference, this the 9th of June 2016."
